   Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 1 of 36




            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND


  CAPITAL CENTRE, LLC,
                     Plaintiff,
       -against-                        04-CV-0182 RDB
  DANIEL R. WILKINSON, SR.,
                     Defendant.




     DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO
      PLAINTFF’S MOTION FOR SUMMARY JUDGMENT AND/OR
     TO DISMISS FOR FAILURE TO STATE A CLAIM AND IN
SUPPORT OF DEFENDANT’S CROSS MOTION FOR SUMMARY JUDGMENT
  Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 2 of 36



                         TABLE OF CONTENTS


PRELIMINARY STATEMENT ..........................................4-5
STATEMENT   OF   FACTS ...........................................6-13
ARGUMENT .......................................................14
  Point I:

  Standard for Summary Judgment ...............................14

     A. Cap Centre Motion for Summary Judgment for
        Breach of Its Contract Claim Should be Denied .......14-16

     B. Cap Centre Motion for Summary Judgment on
        Wilkinson's Negligent Misrepresentation
        Claim Should be Denied ..............................16-20

        1. Wilkinson has Made a Claim for
           Negligent Misrepresentation ......................16-18

        2. Cap Centre Alleges it Owed No Duty to
           Wilkinson ...........................................19

        3. Cap Centre Alleges Wilkinson has No Standing .....19-20

     C. Wilkinson is Entitled to a Jury Trial ...............20-22

     D. Other Issues Raised by Cap Centre ......................22

  Point II:

     E. Wilkinson is Entitled to Summary Judgment
        on Plaintiff's Breach of Contract Claim ................22

     F. Wilkinson is Entitled to Summary Judgment
        on Plaintiff's Negligent Misrepresentation Claim ....23-34
  CONCLUSION ..................................................34




                                 -2-
  Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 3 of 36



                        TABLE OF AUTHORITIES



                                CASES

Celotex Corp. v. Catrett, 477 U.S. 317 (1986) .................14

Bland v. Norfolk & Southern R.R. Co., 406 F.2d 863
(4th Cir. 1969) ................................................14

Silver Hill Station LP, 158 F. Supp. 2d at 631
 ..................................................14, 23, 24, 25

Trevino v. Yamaha Motor Corp., 882 F.2d 182
(5th Cir. 1982) ................................................14

Carson v. Giant Food, Inc. 187 F. Supp. 2d (Md. 2002) .........15

Copies Typewriters Calculators, Inc. v. Toshiba Corp.,
576 F. Supp. 312 (D.Md. 1983) .................................15

Hulsey v. West, 966 F.2d 579 (10th Cir. 1992) ..................21

Allstate Ins. Co. v. Reliance Ins. Co., 786 A.2d 27
(Md.App. 2001) ................................................22

Bean v. Steuart Petroleum Co., 224 A.2d 295 (Md. 1966) ........22

Carson v. Giant Food, Inc. 187 F. Supp. 2d 462
(Md. 2002) ....................................................22

Copies Typewriters Calculators, Inc. v. Toshiba Corp.,
576 F. Supp. 312 (D.Md. 1983) .................................22

Parker v. Columbia Bank, 91 Md. App. 346, 604 A.2d 521
(Md. 1992) ........................................23, 24, 27, 31

Jones v. Hyatt Ins. Agency, Inc., 741 A.2d 1099 (Md.
1999) .........................................................23

Mesmer v. M.A.I.F., 725 A.2d 1053 (Md. 1999) ..................23

G&M Oil Co. v. Glenfeld Fin. Corp., 782 F. Supp. 1078
(D.Md. 1989) ..............................................24, 26

Weisman v. Connors, 312 Md. 428, 540 A.2d 783 (Md. 1988) ......27

                         STATUTES AND RULES

Federal Rules of Civil Procedure 56(c) ........................14




                                -3-
      Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 4 of 36



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     DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO
      PLAINTFF’S MOTION FOR SUMMARY JUDGMENT AND/OR
     TO DISMISS FOR FAILURE TO STATE A CLAIM AND IN
SUPPORT OF DEFENDANT’S CROSS MOTION FOR SUMMARY JUDGMENT
                          PRELIMINARY STATEMENT
               Defendant      and      counter-plaintiff             Daniel     R.

 Wilkinson,       Sr.     (“Wilkinson”)         respectfully    submits       this

 memorandum of law in opposition to plaintiff and counter-

 defendant      Capital    Centre   LLC’s       (“Cap   Centre”)     motion   for

 summary judgment and/or to dismiss for failure to state a

 claim.       In addition, Wilkinson submits this memorandum in

 support of his cross-motion for summary judgment.

               Cap   Centre   filed    a    two-count     complaint      against

 Wilkinson       alleging     breach       of     contract     and     negligent

 misrepresentation.         In a circuitous manner, Cap Centre has

 moved for summary judgment only as to the breach of contract

 claim.1      Although it acknowledges Wilkinson did not sign the


 1
       On or about April 14, 2005, Cap Centre filed a summary judgment
 motion solely as to its breach of contract count.     In that motion, Cap
 Centre did not seek summary judgment on Wilkinson’s counterclaim for
 negligent misrepresentation.   On July 1, 2005, Cap Centre filed another
 motion for summary judgment raising a host of issues, including moving for

                                      -4-
  Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 5 of 36



lease   or    guaranty      in   his   individual      capacity,      Cap   Centre

contends      Wilkinson      nonetheless       is    personally     liable      for

economic damages because he executed the guaranty on behalf

of an alleged non-existent principal.                  Cap Centre’s argument

is specious and conclusory.             To maintain a breach of contract

claim against Wilkinson, individually, Cap Centre must first

prevail      on    its    negligent    misrepresentation       claim        because

Wilkinson in his individual capacity signed neither the lease

nor guaranty.            Given that it has not even sought summary

judgment      on    its     negligent    misrepresentation         claim,       Cap

Centre, as a matter of law, is not entitled to judgment for

breach of contract against Wilkinson, individually.

              Wilkinson cross-moves for summary judgment on both

counts of Cap Centre’s complaint.                    Cap Centre’s breach of

contract claim fails because Wilkinson is neither a party nor

a signatory to either the lease or guaranty.                      Likewise, the

negligent     misrepresentation         claim       fails   because    Wilkinson

owed    no   tort    or    fiduciary    duty    to    Cap   Centre,    given     no

special relationship or intimate nexus existed between the

parties.      Accordingly, Wilkinson is entitled to judgment as a

matter of law as to each of the claims pled by Cap Centre.




summary judgment on Wilkinson’s counterclaim. Wilkinson’s memorandum will
address only the issues raised in Cap Centre’s July 1 motion.

                                       -5-
  Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 6 of 36



                              STATEMENT OF FACTS
              Wilkinson is a professional football player, who

was a defensive tackle for the Washington Redskins for five

seasons from September 1997 to July 2003.                       See Affidavit of

Christopher S. Randolph sworn to on July 18, 2005 (“Randolph

Aff.”), Exh. A (Deposition of Daniel Wilkinson sworn to on

January 13, 2005 (“Wilkinson Dep.”)) at 8-9.                         Wilkinson has

played    for    the    Detroit       Lions    from    September     2003     to    the

present.      Wilkinson Dep. at 10.

              In early 2003, Wilkinson negotiated with Starwood

Hotels    &     Resorts      Worldwide,       Inc.    about    constructing         and

operating a “W” hotel in Washington, D.C.                      Wilkinson Dep. at

66-67.

              About     the    same     time,    Wilkinson       contacted        David

Cordish    about       constructing      and    operating       a   hotel     at    the

Boulevard       at     the    Capital     Centre       (“Capital       Centre”)         in

Landover,     Maryland.         Wilkinson       Dep.    at    64-70.        Wilkinson

retained      Sandra    Long    (“Long”)       to    negotiate      lease    of    land

where the hotel would be constructed in Landover, Maryland.

Wilkinson Dep. at 49-53.               Wilkinson and Long met with David

Cordish,      Reed    Cordish    and    Michael       Morris    (“Morris”)         on   a

couple of occasions about the hotel.                    Wilkinson Dep. at 64-

65.   Morris became point person for Cap Centre, speaking with

Wilkinson several times in March 2003.                        See Randolph Aff.,




                                        -6-
  Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 7 of 36



Exh. B (Deposition of Michael Morris sworn to on January 18,

2005 (“Morris Dep.”)) at 60-62; Wilkinson Dep. at 96.

            While    Wilkinson        was   discussing     the    hotel,    Cap

Centre’s    officials     were       more   interested    in     persuading   a

Redskins player to operate a restaurant/sports bar at the

Capital Centre.      In an e-mail dated March 20, 2003 addressed

to several Cordish officials, Reed Cordish stated,

            We have a limited amount of space left on
            the main street, however, it is prime
            space.   What unique uses that would make
            the project special or be good customer
            generators. My thoughts:
            *                    *                 *              *
            Great sports bar
            Celebrity related restaurant or bar
See also Morris Dep. at 67-68.
            In response, Blake Cordish asked, “Anyone have a

theory on how to get to one of Redskins players?”                          Reed

Cordish replied, “We are already broaching idea with Dan ‘Big

Daddy’ Wilkinson.”        See Randolph Aff., Exh. C (e-mail dated

March 20, 2003).

            In early April 2003, Morris met with Starwood and

Red Rock Global officials concerning a hotel at the Capital

Centre.     See Randolph Aff., Exh. D (note from Starwood to

Morris    dated   April   7,     2003).       Around     the   time   of   that

meeting, Morris suggested that Wilkinson team with Red Rock

on the hotel.       Morris Dep. at 38-39.         Wilkinson Dep. at 109-

110.



                                      -7-
     Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 8 of 36



               Days later, Morris sent Long a proposed Letter of

Intent       (“Hotel   LOI”)    concerning       the    hotel   at    the    Capital

Centre.        Randolph Aff., Exh. E (e-mails between Morris and

Long dated April 8 and 15, 2003).                  See also Randolph Aff.,

Exh. F (draft Hotel LOI dated April 15, 2003).                        The name of

the guarantor was blank.            Section 2 of the draft Hotel LOI

provided “Guarantor: ___________ will guaranty Tenant opening

for business, full lease obligations for the entire Term of

the Lease (and any option period exercised by Tenant)(please

provide financials of guarantor for review)”.                      Id.     Section 2

reflects the customary template used by Cap Centre, which was

prepared by Morris.          Morris Dep. at 84-85.

               Wilkinson was willing to personally guarantee the

financial obligations incurred in connection with the hotel

at     the   Capital    Centre    but    before        providing     his    personal

financial information, Wilkinson insisted on a confidential

agreement.        Long had counsel prepare a proposed agreement

which was forward to Morris.                  See Randolph Aff., Exh. G (e-

mail from Long to Morris dated April 21, 2003).                            Wilkinson

produced his financial statement to Morris in connection with

the hotel project.           Wilkinson Dep. at 81, 84-88.

               On or about April 22, 2003, Morris sent Wilkinson a

revised       Hotel    LOI   identifying       Wilkinson     and     his    wife   as

guarantors.       See Randolph Aff., Exh. H (draft Hotel LOI dated

April 22, 2003).             Section 2 stated, “Guarantor: Daniel R.

                                        -8-
  Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 9 of 36



Wilkinson      (and    wife,    if    applicable)          will   guaranty   Tenant

opening for business, full lease obligations for the entire

Term    of     the    Lease    (and    any       option    period   exercised    by

Tenant).”       Id.    Section 17 provided,

               Security Deposit: Tenant shall deposit
               the equivalent of three (3) months of
               total rental obligations (the “Deposit”).
               At any point during the Term of Lease (or
               any options thereafter) should the net
               worth    of     Daniel     R.    Wilkinson
               (“Guarantor”)   fall    below   $6,000,000
               security deposit shall increase to six
               (6) months of total rental obligations
               (the “Increased Deposit”).    The Deposit
               shall be returned to Tenant at the
               Termination of the Lease assuming there
               is no event of default by Tenant.
Id.    Wilkinson asked Morris to remove the reference to his

wife because they were going through a divorce.                         Wilkinson

Dep. at 93-95.

               Morris did not remove reference to Wilkinson’s wife

as requested and did not make any further modifications to

the Hotel LOI.         Morris Dep. at 63-64.               The Hotel LOI was not

signed.      Rather, Morris shifted the focus from a hotel to a

restaurant/sports bar.              Wilkinson Dep. at 202-208.           On April

28,    2003,    Morris       sent   Long     a    proposed    Letter   of    Intent

(“Restaurant         LOI”)    concerning         “sports    bar/tarverne.”      See

Randolph Aff., Exh. I (e-mail from Morris to Long dated April

28, 2003, including Restaurant LOI).                      Wilkinson Dep. at 203-

208.




                                       -9-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 10 of 36



          In   preparing   the    Restaurant   LOI,   Morris    did    not

request any additional information from Wilkinson; instead

Morris simply transferred language concerning the guarantor

and security deposit from the Hotel LOI into the Restaurant

LOI.   Morris Dep. at 98.         Section 2 of the Restaurant LOI

stated,   “Guarantor:    Daniel    R.    Wilkinson    (and     wife,   if

applicable) will guaranty Tenant opening for business, full

lease obligations for the entire Term of the Lease (and any

option period exercised by Tenant)(please provide financials

of guarantor for review).”       Id.    Section 17 of the Restaurant

LOI stated,

          Security Deposit: Tenant shall deposit
          the equivalent of three (3) months of
          total rental obligations (the “Deposit”).
          At any point during the Term of Lease (or
          any options thereafter) should the net
          worth    of     Daniel     R.    Wilkinson
          (“Guarantor”)   fall    below   $6,000,000
          security deposit shall increase to six
          (6) months of total rental obligations
          (the “Increased Deposit”).    The Deposit
          shall be returned to Tenant at the
          Termination of the Lease assuming there
          is no event of default by Tenant.
Id.

          In a May 13, 2003 e-mail to Long, Morris stated,

          We   never    finished   our   discussion
          regarding the sports bar.   I thought you
          still had some points to discuss. It is
          important that we keep this deal on
          track. Believe it or not, the sports bar
          is a higher priority for Cordish than the
          hotel.




                                 -10-
    Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 11 of 36



See Randolph Aff., Exh. J (e-mails between Morris and Long

dated May 13, 2003).                      In response, Long stated, “We need to

move on both projects.                         Dan’s 1st priority is the hotel, the

sports bar is a close second.”                              Id.      See also Wilkinson Dep.

at 108.

                  On May 15, 2003, Morris revised the Restaurant LOI

substituting             “Dandar          Enterprises”            as     guarantor.2           (emphasis

added).           Section         2      stated,       “Guarantor:            Dandar        Enterprises

will       guaranty          Tenant            opening       for       business,           full       lease

obligations for the entire Term of the Lease (and any option

period exercised by Tenant).”                                See Randolph Aff., Exh.                          K

(draft Restaurant LOI dated May 15, 2003).

                  Morris prepared a draft lease for the restaurant

and     presented           it      to    Wilkinson.              Morris        Dep.      at     110-111;

Wilkinson           Dep.       at        92.       The      proposed           lease        incorrectly

identified Dandar as a limited liability corporation, instead

of a for profit company.                          See Randolph Aff., Exh. L (draft

lease       on      restaurant).                 The      lease        went       through          several

iterations with the same misnomer.                               Morris Dep. at 111.

                  Wilkinson              refused       to      personally            guarantee            the

restaurant           lease,         telling        Morris         Dandar       Enterprises,             Inc.


2
         Dandar Enterprises Inc. (“Dandar”) is an Ohio company, incorporated in March 1997. Dandar is the
“overseer, the parent company, if you will, of the other Dandar Enterprises companies”. Wilkinson Dep. at
16-17. Wilkinson has several entities with Dandar in the name – Dandar Enterprises Inc., Dandar Enterprises
of Ohio, LLC, and Dandar Enterprises of Maryland LLC. Wilkinson Dep. at 11-29. The genesis of Dandar’s
name “is the first three initials of [Wilkinson] name and the first three initials [Daniel] of my brother’s name
[Darryl].”. Id. at 13, 20.

                                                  -11-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 12 of 36



would be the guarantor.             Wilkinson Dep. at 99-104, 113-115.

Wilkinson has not personally guaranteed a commercial lease

before and he believed it did not make sense for him to

guarantee the lease personally in this instance.                           Id. at 100-

101.

               On May 29, 2003, Wilkinson’s counsel incorporated A

Big Daddy Joint LLC (“ABDJ”) to be tenant on the lease.                              See

Randolph Aff., Exh. M (Articles of Organization for A Big

Daddy Joint LLC).         On or about June 9, 2003, Wilkinson signed

the    lease    as   authorized         agent      of    ABDJ,       and   signed    the

guaranty as Dandar’s agent.                Wilkinson Dep. at 148-152.                See

also   Randolph      Aff.,      Exhs.    N    (lease         between   plaintiff     and

ABDJ)) and O (Guaranty).            Wilkinson is the principal owner of

ABDJ   and     Dandar.         Wilkinson      Dep.      at    11-14,    29.    At    the

signing of the lease and guaranty, Morris knew Dandar was

misidentified.           See    Randolph      Aff.,      Exh.    P     (Deposition    of

Andre’ Johnson sworn to on May 20, 2005                        (“Johnson Dep.”)) at

109-112,       132-133.         Morris       and     Wilkinson         discussed     the

misidentification, but Morris said he would make correction

later.    Id.

               On the guaranty, Dandar agreed to be responsible

for certain obligations in the event of a default by ABDJ.

Randolph        Aff.,     Exh.      O        (Guaranty).               Dandar’s      tax

identification number was included on the guaranty under the

signature of its authorized agent.                       Wilkinson Dep. at 113-

                                        -12-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 13 of 36



115, 156-157.      Dandar paid $12,447.78 as security deposit.

See Daniel Wilkinson Declaration dated July 18, 2005 (check

from Dandar to Cap Centre dated June 6, 2003).              Nowhere in

the lease or guaranty did Wilkinson sign in his individual

capacity.      Further, Wilkinson did not agree to be personally

liable for any of ABDJ or Dandar’s obligations.          See Randolph

Aff., Exhs. N and O.

            In July 2003, the Redskins traded Wilkinson to the

Detroit Lions.      Wilkinson spoke to David Cordish, requesting

termination of the lease on behalf of ABDJ.            Wilkinson Dep.

at 179-180.     On August 11, 2003, Cap Centre sent a notice of

default to ABDJ.       See Randolph Aff., Exh. Q (Letter from

Cordish & Cordish to A Big Daddy Joint LLC re Notice of

Default dated August 11, 2004).        In an internal memorandum,

Cap   Centre     established   February   9,    2004   as    the     rent

commencement date.      See Randolph Aff., Exh. R (Cap Centre’s

internal memorandum dated September 24, 2003).              In February

2004, plaintiff commenced this litigation against Wilkinson

in his individual capacity.




                               -13-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 14 of 36



                                      ARGUMENT
                                      POINT I
                      STANDARD FOR SUMMARY JUDGMENT
               Summary judgment is appropriate when no material

facts    are     in    dispute.       Federal       Rules   of   Civil   Procedure

56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986);

Bland v. Norfolk & Southern R.R. Co., 406 F.2d 863, 866 (4th

Cir. 1969).          The question of whether a cause of action exists

may be decided by summary judgment.                   Silver Hill Station Ltd.

Partnership, v. HAS/Wexford BancGroup, LLC, 158 F. Supp. 2d

631     (D.Md.        2001).      “When       the     facts      controlling        the

application of a rule of law are undisputed, the application

raises a question of law for the court which the court may

decide    on     a    motion    for   summary       judgment.”       Silver      Hill

Station Ltd., 158 F. Supp. 2d at 637, quoting Trevino v.

Yamaha Motor Corp., 882 F.2d 182, 184 (5th Cir. 1982).

A.      Cap Centre Motion For Summary Judgment For
        Breach Of Its Contract Claim Should Be Denied
               In its complaint, Cap Centre alleges ABDJ failed to

provide    timely       plans   as    required       by    section   1401   of      the

lease.     Complaint ¶¶8, 11.             Cap Centre, in its motion for

summary judgment, contends ABDJ breached the lease by failing

to    provide         “Tenant   Plans”    for        the    construction       of     a

restaurant.          Cap Centre Memo. at 15.              Next, Cap Centre makes

an improbable leap in legal analysis by stating,


                                       -14-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 15 of 36



               Wilkinson executed the Guaranty as the
               purported agent of a nonexistent or
               fictitious principal at the time of
               contracting, [therefore,] Wilkinson is
               . . . personally liable on that Guaranty.
Cap Centre Memo. at 16.

               Cap Centre is wrong and its argument is merely a

veiled     attempt       to    maintain      a    frivolous       claim    against

Wilkinson.       It is plain that to maintain a cause of action

for    breach    of    contract     against      Wilkinson,      Cap   Centre     and

Wilkinson must be in privity of contract.                        Carson v. Giant

Food, Inc. 187 F. Supp. 2d 462 (Md. 2002); Copies Typewriters

Calculators, Inc. v. Toshiba Corp., 576 F. Supp. 312, 322

(D.Md. 1983).           See generally Circuit City Stores, Inc. v.

Rockville Pike Joint Venture Ltd. Partnership, 372 Md. 763

(Md. 2003).       They are not. Wilkinson is not the tenant on the

lease and he is not the guarantor under the guaranty.

               Moreover, contrary to Cap Centre’s assertion, at no

time did Wilkinson act on behalf of a non-existent company.

Rather, Dandar existed at the time and still exists.                            It is

undisputed that (1) Wilkinson informed Morris the guarantor

would be Dandar Enterprises, Inc., see Wilkinson Dep. at 113-

115;     (2)    Wilkinson      provided      Dandar’s      tax    identification

number on the guaranty, see Wilkinson Dep. at 115-116 and

guaranty (Exh. O); (3) Wilkinson tendered a $12,447.78 check

as    security       deposit   on   the   lease    drawn    on    Dandar’s       bank

account,       see     Wilkinson    Declaration       and     (4)      Morris     was


                                      -15-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 16 of 36



informed    Dandar   was    misidentified   on   the   guaranty,     see

Johnson Dep. at 109-112, 132-133.           Wilkinson provided Cap

Centre with sufficient information to verify or conduct due

diligence concerning the guarantor.          Consequently, the lack

of privity of contract and Cap Centre’s failure to move on

its negligent misrepresentation claim, mandates denial of Cap

Centre’s summary judgment motion on count 1 of its complaint.

B.   Cap Centre’s Motion For Summary Judgment
     On Wilkinson’s Negligent Misrepresentation
     Claim Should Be Denied
            Cap Centre makes three arguments in support of its

efforts    to   defeat    Wilkinson’s   counterclaim   for   negligent

misrepresentation.

1.   Wilkinson Has Made A Claim for Negligent Misrepresentation

            Cap Centre contends its misrepresentations are not

actionable because they were merely promises or predictions

of future events.        In support of that specious argument, Cap

Centre cites Sass v. Andrew, 152 Md. App. 406, 832 A.2d 247

(2003) -- a fraud case.          Sass is inapposite because this

action involves negligent misrepresentation, not fraud.              In

his deposition, Wilkinson testified,

     Mr. Kerr: Do you recall discussing with Long at this
          time period, mid May, an instruction to her that
          your   were  only   prepared  to   proceed  if   the
          restaurant was part of a package with the hotel?
     Mr. Wilkinson: I remember having some type of discussion
          with Sandra Long that the hotel was our priority
          and that we have a strong interest in the

                                 -16-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 17 of 36



          restaurant, but our reason for being at the Capital
          Centre was for the hotel.
          *           *           *          *           *             *
     Mr. Kerr: Do you remember her giving you any feedback?
          Did she tell you what the status was of the hotel
          as part of the restaurant negotiations?
     Mr. Wilkinson: Well, it was apparent that the hotel
          talks had become – started to become a little
          shaky. We were hearing different stories regarding
          the hotel and our first right of refusal to it if
          you say.
     Mr. Kerr: Any recollection       of   where   the   stories     were
          coming from?
     Mr. Wilkinson: I think it was just a lot of mixed
          conversations that we were hearing from Mike
          Morris.
     Mr. Kerr: Okay, Any more details, that you can remember
          what Mr. Morris would have told you or what Ms.
          Long told you Morris said?
     Mr. Wilkinson: Other than that we had found out at one
          point in time that there was another group who had
          signed a letter of intent for the hotel site along
          with us.
          *           *           *          *           *             *
     Mr. Kerr: What was your reaction when you learned that?
     Mr. Wilkinson: That we were being basically played with
          as far as the hotel project and that they were
          never serious about it and it was only the
          restaurant that they were serious about.
See Wilkinson Dep. 107-112.

          With respect to a Letter of Intent concerning the

hotel, Wilkinson testified,

     Mr. Kerr: But you recall that a letter of intent was
          issued by Capital Centre to you with regard to your
          intentions to build and operate a hotel on the
          Capital Centre site.
     Mr. Wilkinson: Yes,  And   then  things   were  –   from
          Cordish’s side shifted towards the restaurant, and
          that was pretty much used as a leveraging tool over
          the hotel.


                               -17-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 18 of 36



          *           *           *          *           *             *
     Mr. Kerr: Is it your position that your signing of the
          restaurant lease on behalf of A Big Daddy Joint,
          LLC was conditioned upon, was subject to an
          agreement on the hotel?
     Mr. Wilkinson: The restaurant was always used as a
          dangling tool, if you say, as far as whether they
          will allow us to move forward with the hotel based
          on the restaurant.
          *           *           *          *           *             *
     Mr. Kerr: Tell me though, what’s the nature               of    the
          promise? What is it you were promised?
     Mr. Wilkinson: That we would have first right of refusal
          on the hotel and that in fact we would move forward
          on it.
               A letter of intent, to the best of my
          recollection, was prepared and was put on the back
          burner because of the restaurant.
See Wilkinson Dep. at 201-208.

          Further, misrepresentations were made with respect

to the Arena Drive exit, Wilkinson testified,

     Mr. Kerr: . . . Cordish officials represented to
          defendant, meaning you, that the Arena Drive exit
          from Interstate 495 on the Capital Beltway soon
          would be open to all vehicular traffic.
          *           *           *          *           *             *
     Mr. Wilkinson: During the – again, I can’t tell which
          one said it first, but it was during the time we
          were looking at the aerial architectural renderings
          that they had in their conference room.
     Mr. Kerr: Are you alleging that Mr. Morris               or     Reed
          Cordish made such a representation to you?
     Mr. Wilkinson: What representation?
     Mr. Kerr: That there would be a higher revenue produced
          because of the high volume of traffic entering
          Capital Centre from Interstate 495?
     Mr. Wilkinson: Yes.
See Wilkinson Dep. at 215-220.



                               -18-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 19 of 36



2.     Cap Centre Alleges It Owed No Duty to Wilkinson

             Cap          Centre       argues        Wilkinson’s        negligent

misrepresentation          claim      should    be    dismissed      because     Cap

Centre owed no duty to Wilkinson, because Wilkinson is only

seeking      money       damages     and   because     the   lease     with     ABDJ

contains a disclaimer.             Cap Centre Memo. at 22-23.

             With respect to the “no duty” and economic loss

assertion, if the Court agrees with Cap Centre, the Court

must also enter judgment in favor of Wilkinson on his motion

for summary judgment as to counts one and two of Cap Centre’s

complaint.        This is so given that Wilkinson owed no tort or

fiduciary duty to Cap Centre and given that Cap Centre can

only maintain the breach of contract if it prevails on the

negligent misrepresentation count.                   See Discussions in Point

II of this memorandum.

             As     to    the   disclaimer      argument,    it    fails   because

Wilkinson, in his individual capacity, is not a party to the

lease and is not bound by those disclaimers.                       Cap Centre and

ABDJ   are    the    entities        subject    to   the   disclaimers     in    the

lease, not Wilkinson.


3.     Cap Centre Alleges Wilkinson Has No Standing

             Using derivative action cases as a backdrop, Cap

Centre avers Wilkinson has no standing to sue.                      Cap Centre is

disingenuous        because     it    knows    Wilkinson     has    brought     this



                                       -19-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 20 of 36



action in his individual capacity, not on behalf of ABDJ or

Dandar.

             Wilkinson         contacted               David        Cordish          about

constructing and operating a hotel at the Capital Centre.

Cordish and Morris misrepresented to Wilkinson that he would

have   the   first     right     of       refusal      on   the    hotel.      However,

Cordish gave the first option to Red Rock Global.                             Wilkinson

Dep. at 110-111.          Further, Wilkinson negotiated a letter of

intent in his individual capacity concerning the hotel (see

Randolph      Aff.,      Exhs.        F     and     H)      Wilkinson        signed      a

confidentiality          agreement          and        Wilkinson      provided        his

financial statement to Cap Centre solely in connection with

the hotel.        Wilkinson Dep. at 81, 85-89.                    Cap Centre has not

provided information to refute this evidence.

C.     Wilkinson Is Entitled To A Jury Trial
             On    two    occasions,            this     Court     has      denied    Cap

Centre’s motion to strike Wilkinson’s jury demand.                              Without

any additional basis for doing so, Cap Centre makes the same

motion for a third time.                  Cap Centre has neither pointed to

any additional facts nor has it cited any authority, which

would deny a jury trial to a non-party to a contract in

similar circumstances.

             Further, Cap Centre has the burden of proof on the

question     whether     Wilkinson         in    his    individual       capacity     has

waived his right to a jury trial.                       See Memorandum and Order

                                          -20-
    Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 21 of 36



dated February 11, 2005 (Paper No. 42) at 4.                         Here, the

waivers pointed to by Cap Centre do not bind Wilkinson in his

individual capacity because he is not a party to either the

lease     or    guaranty.        Wilkinson    signed    both    documents    as

authorized agent.           Hulsey v. West, 966 F.2d 579 (10th Cir.

1992).        As in Hulsey, only ABDJ and Dandar waived their right

to a jury trial, not Wilkinson, individually.

               As this Court noted in its Memorandum and Order

dated February 11, 2005, “Wilkinson contends that there was a

corporate entity which entered into a contract with Capital

Centre.”       Memorandum and Order (Paper No. 42) at 3.              From the

outset,       Wilkinson   has    maintained    that    Dandar    Enterprises,

Inc.     is    the    proper    guarantor.3     Even    though    Dandar    was

misidentified as a limited liability company (as opposed to a

for profit company) on the guaranty, (1) Wilkinson informed

Morris the guarantor would be Dandar Enterprises, Inc., see

Wilkinson Dep. at 113-115; (2) Wilkinson provided Dandar’s

tax identification number on the guaranty, see Wilkinson Dep.

at 115-116 and guaranty (Exh. O); (3) Wilkinson tendered a

$12,447.78 check as security deposition on the lease drawn on

Dandar’s       bank   account,    see   Wilkinson      Declaration    and   (4)

Morris was informed Dandar was misidentified on the guaranty,




3
      Wilkinson has four companies, which have Dandar Enterprises as a
part of their names. See footnote 2 above.

                                     -21-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 22 of 36



see Johnson Dep. at 109-112, 132-133.                 Accordingly, Wilkinson

is entitled to a jury trial.

D.     Other Issues Raised by Cap Centre
                Cap   Centre       seeks       judgment     on      Wilkinson’s

affirmative        defenses    –   estoppel     and    waiver.      Cap    Centre

provides no evidence in support of its motion.                    In Maryland,

questions of waiver and estoppel are factual to be decided by

the trier of fact.            Allstate Ins. Co. v. Reliance Ins. Co.,

786 A.2d 27 (Md.App. 2001); Bean v. Steuart Petroleum Co.,

224 A.2d 295 (Md. 1966).

                Likewise, Cap Centre’s argument concerning punitive

damages and attorney’s fees cannot be resolved by summary

judgment, but must await trial.


                                   POINT II
E.     Wilkinson Is Entitled To Summary Judgment
       On Plaintiff’s Breach of Contract Claim
                A Big Daddy Joint, LLC entered into a lease with

Cap Centre to lease a restaurant/sports bar.                     Randolph Aff.,

Exh.      N.     Dandar    guaranteed      ABDJ’s     performance    under      the

lease.         Randolph Aff., Exh. O.          Wilkinson, individually, is

not a party to the lease or guaranty.

                To be liable for breach of contract, Wilkinson must

be   in    privity    of   contract     with    Cap   Centre.       He    is   not.

Carson v. Giant Food, Inc. 187 F. Supp. 2d 462 (Md. 2002);

Copies Typewriters Calculators, Inc. v. Toshiba Corp., 576 F.

                                      -22-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 23 of 36



Supp. 312, 322 (D.Md. 1983).                  See generally Circuit City

Stores,     Inc.     v.      Rockville        Pike     Joint      Venture       Ltd.

Partnership, 372 Md. 763 (Md. 2003).                     Wilkinson is not a

party to the lease or guaranty; therefore, Cap Centre has no

claim for breach of contract against Wilkinson.


F.      Wilkinson Is Entitled To Summary Judgment On
        Plaintiff’s Negligent Misrepresentation Claim
            Causes        of         action        based       on        negligent

misrepresentation require that the party being sued owes a

duty in tort to the party bringing the suit.                             Parker v.

Columbia Bank, 91 Md. App. 346, 604 A.2d 521 (Md. 1992);

Silver    Hill     Station     LP,    158     F.     Supp.   2d     at   635.      A

contractual obligation, by itself, does not create a tort

duty.     Jones v. Hyatt Ins. Agency, Inc., 741 A.2d 1099 (Md.

1999), quoting Mesmer v. M.A.I.F., 725 A.2d 1053, 1058 (Md.

1999).

            The elements of negligent misrepresentation under

Maryland law include:

            (1)    the defendant misrepresented a present or past
                   material fact;
            (2)    the defendant, owing the plaintiff a duty of
                   care,    was    negligent  in   making   the
                   misrepresentation;
            (3)    the   defendant          made  the   misrepresentation
                   intending that           the plaintiff would act in
                   reliance on it;
            (4)    the defendant knew the plaintiff probably
                   would rely on the misrepresentation, which if
                   false would cause injury or loss to the
                   plaintiff;

                                      -23-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 24 of 36



            (5)   the plaintiff relied on the misrepresentation;
            (6)   the plaintiff’s reliance was justified; and
            (7)   the plaintiff suffered damages as a result of
                  the     plaintiff’s    reliance    on     the
                  misrepresentation.

The second element has two parts: (i) defendant must owe a

duty of care to plaintiff and (ii) defendant must negligently

assert a false statement.                Parker, 91 Md.App. at 356, 604

A.2d at 530.

            On two occasions, the United States District Court

for the District of Maryland granted defendants’ motion for

summary     judgment     on       negligent      misrepresentation       claims.

Silver     Hill   Station         Ltd.     Partnership,        v.    HAS/Wexford

Bancgroup, LLC, 158 F. Supp. 2d 631 (Md. 2001); G&M Oil Co.

v. Glenfeld Fin. Corp., 782 F. Supp. 1078 (D.Md. 1989).

            In G&M Oil Co. v. Glenfed Fin. Corp., 782 F. Supp.

1078 (D.Md. 1989) a borrower filed suit against a lender

asserting many claims, including negligent misrepresentation

in   connection       with    a    failed     loan.       In    analyzing     the

borrower’s claim, Judge Ramsey noted “Maryland courts have

adopted the view that in order for a duty of care to exist

between     parties    involved       in    an    arm’s   length      commercial

transaction involving pecuniary loss only, the parties must

have a special relationship or intimate nexus.”                     782 F. Supp.

at 1089.      Looking at the parties (who were represented by

counsel),    Judge     Ramsey      found    no    special      relationship   or

intimate nexus between the parties.                   Judge Ramsey concluded

                                     -24-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 25 of 36



“before the Court is a financing deal gone awry between two

businesses, bargaining at arm’s length with their eyes open;

no special duty can be imposed on either party in such a

circumstance.”       782 F. Supp. at 1089.          Judge Ramsey further

noted, a party to an arm’s length commercial transaction only

has the right to rely on the other party for information if a

duty exists to provide accurate information.                 No duty existed

in   G&M    Oil,    accordingly,      Judge    Ramsey     granted       summary

judgment for the lender.

            In Silver Hill Station, a borrower applied for a

commercial loan to refinance a mortgage on a shopping center.

Several months after receiving the loan application, fee and

deposit,    the    lender’s      broker    allegedly    verbally       informed

borrower that the loan application had been approved and that

a formal commitment letter was forthcoming.               However, a short

time later, the lender sent a written “preliminary commitment

letter”     contingent      on     several     matters,       including      an

environmental analysis.           Borrower filed suit for negligence

and negligent misrepresentation alleging that the lender was

negligent in processing the application and that the lender’s

broker     made    negligent      misrepresentations         concerning     the

status of the loan.       The lender moved for summary judgment.

            Judge    Messitte      granted    the   motion      for     summary

judgment    on    both   counts.     With     respect   to    the     negligent

misrepresentation claim, Judge Messitte stated,


                                    -25-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 26 of 36



            As with ordinary negligence, negligent
            misrepresentation in the context of a
            failed loan transaction presupposes the
            existence of a duty on the part of the
            lender. See Parker, 91 Md. App. 346, 604
            A.2d 521.      While in the negligence
            context the duty is cast as one in tort
            after   the   fashion   of  Jacques,   in
            negligent misrepresentation context it is
            fiduciary in nature. Id.
            But as the Court has already observed,
            for a tort duty to come into play,
            extraordinary  circumstances   above  and
            beyond contractual privity are required.
            For a fiduciary duty to exist, ‘special
            circumstances   over    and   above   any
            contractual obligations’ must exist. Id.
            at 369, 604 A.2d at 532.      Among those
            special circumstances, as established by
            Parker, are (1) assumption by the lender
            of extra services over and above the
            contractual obligation and (2) receipt by
            the lender of economic benefits other
            than those accruing to the ordinary
            mortgage.
            . . . Circumstances above and beyond
            contractual   privity  must   be present
            before any duty comes into play.
Silver Hill Station, 158 F. Supp. at 640-41.

            In analyzing the facts, Judge Messitte found the

borrower owed no fiduciary duty to lender for purposes of a

negligent   misrepresentation       cause   of    action.      The    Court

stated,   the    borrower’s   officials     acknowledged      the     lender

assumed no services other than the “normal investigations,

evaluations     and   inspections   that    a    prudent    lender”   would

make.     Likewise, Judge Messitte found the lender did not

benefit beyond the mortgage itself.




                                -26-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 27 of 36



               The       principles      pronounced             in    G&M       Oil    and   Silver

Hill    involving         lenders       and       borrowers          are    applicable          to    a

commercial transaction between landlords and tenants.                                            See

generally       Parker      v.     Columbia          Bank       (residential            loan)    and

Weisman v. Connors, 312 Md. 428, 540 A.2d 783 (Md. 1988)

(employment contract).

               The instant case involves money damages only and no

special       relationship         or    intimate         nexus       exists          between    the

parties.         Furthermore,            no    special          circumstances            over    and

above    the     contractual        relationship            between             Cap    Centre    and

ABDJ exists here.            Cap Centre assumed no extra services.                               Cap

Centre did not even incur any costs building out the premises

because the transaction was merely a ground lease between Cap

Centre and ABDJ.

               Cap        Centre        is        controlled               by     sophisticated

businessmen       (Messrs.         Abe    Pollin          and    David          Cordish).        See

Recognition       Agreement,        annexed          to     Complaint            as    Exhibit       J.

Cap Centre negotiated an arm’s length commercial lease with

ABDJ,     with       a    guaranty        by       Dandar.            During           the   entire

transaction, Cap Centre was represented by in-house counsel

and     by     Morris,       who        has       broad     commercial                real   estate

experience.          ABDJ and Dandar were represented by counsel.

Wilkinson has no direct contract with Cap Centre.                                            Under

these        circumstances,         as        a      matter          of     law,        Wilkinson,

individually, owed no duty to Cap Centre.


                                              -27-
    Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 28 of 36



             Cap Centre contends,

             Capital Centre agreed to accept the
             guaranty of Dandar Enterprises LLC in
             lieu of the guaranty of Wilkinson and his
             wife in reliance upon Wilkinson’s express
             representation that Dandar Enterprises
             LLC was a limited liability company which
             held ownership of substantial assets.
             These representations made by Defendant
             Wilkinson were false, and Wilkinson made
             these false representations negligently
             without making reasonable efforts to
             determine if an entity known as Dandar
             Enterprises LLC, actually existed or held
             title to substantial assets.     In fact,
             there was not then nor is there now, an
             entity known as Dandar Enterprises LLC,
             registered or qualified to do business in
             Maryland, or, so far as Capital Centre
             can determine, anywhere.
Complaint ¶14.

             Cap      Centre’s   contention     is   disingenuous    and    is

nothing more than an assertion that Wilkinson failed to use

reasonable care in articulating the name of the guarantor or

in pointing out that the guarantor’s corporate designation

had been incorrectly typed on the guaranty.4

             Simple      due   diligence   by   Cap     Centre   would    have

detected       the      misnomer       regarding      Dandar’s    corporate

name/status (i.e., “Inc.” versus “LLC”).                Cap Centre had the

ability to correct the misnomer by simply requiring a tenant

application      or    obtaining   a   credit   check    –   procedures    any


4
  During his deposition, Wilkinson testified, “Again, this must be a
clerical mistake that was simply overlooked, because I have several Dandar
Enterprises companies.” He further said, “I believe there was a mistake
created somewhere, and I believe that a sufficient tax ID number that was
given would have cleared that up.”    Wilkinson Dep. at 142, 144.    Also,


                                    -28-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 29 of 36



prudent landlord in a commercial transaction would undertake.

Cap Centre did neither.         Morris Dep. at 127-129.           See also

Wilkinson Dep. at 165.

           During    his    deposition,   Morris    was   asked    whether

prospective tenants were required to complete an application.

Morris Dep. at 25-30.       Morris testified,

     Mr. Morris:       It depends on the tenant.
     Mr. Solomon:   And what is the criteria that you would
          use to determine whether or not you would require a
          tenant application?
     Mr. Morris:       There is no criteria.
           *           *            *           *          *             *
     Mr. Solomon:   And out of the 50 leases, do you recall
          how many tenants filled out a credit application?
     Mr. Morris:       I do not.
     Mr. Solomon:   Do you recall whether any of them filled
          out a credit application?
     Mr. Morris:       There were some.
           *           *            *           *          *             *
     Mr. Solomon:   How   would  you   as   a  leasing   agent
          determine whether or not a person was suitable to
          lease space at the Boulevard at the Cap Centre?
     Mr. Morris:       There are a number of criteria.
     Mr. Solomon:          And what are those criteria?
     Mr. Morris:    Prior experience, finance ability, use,
          support from the county, desire to have that type
          of tenant in our project, desire from the county’s
          perspective to have that type of tenant in the
          county, just to name a few.
           *           *            *           *          *             *
     Mr. Solomon:   And you mentioned financial                ability   or
          suitability. What do you mean by that?



Wilkinson testified he provided Dandar Enterprises, Inc.’s name to Morris,
who prepared the guaranty. Id. at 113-115.

                                  -29-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 30 of 36



     Mr. Morris:    Whether we felt the tenant                       could     be
          financially responsible as a tenant.
            *            *            *           *              *             *
     Mr. Solomon:        And what were those ways.
     Mr. Morris:    Sometimes    it    was    through  credit
          applications,     sometimes     it    was   through
          recommendations from other tenants and/or other
          respected     acquaintances,      friends,   people
          responsible that we trusted, and sometimes it just
          came of the relationship that we had with certain
          tenants.
            *            *            *           *              *             *
            We only did credit applications where we felt that
            we couldn’t trust the applicant in what they were
            presenting to us as their financial responsibility.
     Mr. Solomon:   Out of the 50 leases that you mentioned
          earlier,   did  you   generally  request  financial
          information from the prospective tenants?
            *            *            *           *              *             *
     Mr. Morris:         Generally not. We trusted our tenants.
Morris Dep. at 24-30.

            When    asked       how       did   Cap     Centre       determine

creditworthiness, Morris stated, “Trust and representation by

the tenant of what their net worth and current liabilities

and current assets were.         To the extent that it seemed within

reason, we trusted them.         In the sense it didn’t, we would do

other checks.”     Morris Dep. at 83-84.

            When Wilkinson signed the lease and guaranty, he

did so as authorized agent of ABDJ and Dandar.                       Wilkinson

provided Dandar’s tax identification number (XX-XXXXXXX) and

presented   a    check   for    $12,447.78      drawn   on   Dandar’s        bank

account.        Rather   than    misleading      Cap    Centre,      Wilkinson

identified the tenant and guarantor, and provided Cap Centre


                                  -30-
    Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 31 of 36



with Dandar’s tax identification number and bank account.                           As

the Court of Special Appeals of Maryland stated in Parker,

Cap Centre could not “abandon all caution and responsibility

for [its] own protection and unilaterally impose a fiduciary

relationship      on   another     without        a   conscious     assumption      of

such duties by the one sought to be held to be liable as a

fiduciary.”      Parker, 91 Md.App. at 357, 604 A.2d at 530.

             Instead     of     requesting        even   the     most    rudimentary

information      about    Dandar,5         Cap    Centre   merely        transferred

information concerning Wilkinson from the Hotel LOI into the

Restaurant LOI in order to prepare the lease and guaranty.

Morris Dep. at 98.            It is important to note that Cap Centre

(not Wilkinson) prepared and made all revisions to the LOIs,

lease and guaranty.           Morris Dep. at 127.

       Cap   Centre    cannot     reasonably          maintain     that    Wilkinson

made a false statement when he provided Dandar’s correct tax

identification         number     and       when      Wilkinson         presented    a

$12,444.78 check as security deposit drawn on Dandar’s bank

account.       Also, during his deposition, Morris acknowledged

the “LLC” designation was included almost as an afterthought.

See Morris Dep. 100 - 102, 113, 127 - 130.                       The questions and

answers on that point went like this:




5
      Cap Centre did      not    request    any    information    concerning   Dandar.
Wilkinson Dep. at 89.

                                     -31-
Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 32 of 36



   Mr. Solomon:   Do you recall having any discussion with
        Ms. Long that the guarantor for the hotel project
        would be Dandar.
   Mr. Morris:    My recollection of this was that at this
        conversation, they raised the issue of signing, Mr.
        Wilkinson signing anything personally, at which
        point we then discussed alternatives, which I
        presented I think a couple of different options.
         One of the options that came up was what Mr.
         Wilkinson represented as his parent company, a
         company to which everything he had done had been
         owned by.
         *           *           *          *           *           *
   Mr. Solomon:   And   the   Dandar that   you  had   a
        conversation about with Mr. Wilkinson and Sandra
        Long is Dandar Enterprises?
   Mr. Morris:    I am fairly certain at this point in the
        discussions, he represented that the parent company
        holding all of the assets and presented them to me
        being – he being the singular owner and, therefore,
        basically identical to his assets was Dandar. And
        he represented them at this point only as Dandar
        Enterprises.
   Mr. Solomon:   You said at this point in time, on or
        about April 22, 2003, there wasn’t a distinction
        between   Dandar  Enterprises, Inc.  and  Dandar
        Enterprises LLC?
   Mr. Morris:       Correct.
         *           *           *          *           *           *
   Mr. Solomon:   Now, on or about April 28, 2003, do you
        recall having a conversation with Mr. Wilkinson
        about him personally guaranteeing the obligation of
        the tenant for the restaurant at the Boulevard at
        the Cap Centre?
   Mr. Morris:    I know we discussed it. I don’t remember
        the exact date.    And I know we discussed it in
        conjunction with the same discussions regarding the
        guarantor for the hotel.
         *           *           *          *           *           *
   Mr. Solomon:   Were you still engaged in some generic
        discussion about Dandar Enterprises at the time of
        this version of the letter of intent?
   Mr. Morris:       Could you be more specific about what you
        mean?

                                -32-
Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 33 of 36



   Mr. Solomon:   Well, you prepared or it was prepared at
        your direction, Exhibit 21, correct?
   Mr. Morris:       Correct.
   Mr. Solomon:   And with respect to the guarantor, you
        have identified Dandar Enterprises.
         At the juncture that this document was prepared,
         did   you   have  any   information   about   Dandar
         Enterprises, Inc. versus Dandar Enterprises LLC?
   Mr. Morris:    No, I was only made aware of Dandar
        Enterprises being Mr. Wilkinson’s entity that he
        solely had ownership to.
   Mr. Solomon:   And with respect to Dandar Enterprises,
        did you request any information from Mr. Wilkinson
        that would allow you to do a credit verification?
   Mr. Morris:       I don’t recall.
   Mr. Solomon:   Do you recall receiving any financial
        information or tax returns with respect to Dandar
        Enterprises?
   Mr. Morris:       I don’t believe I recall.
   Mr. Solomon:   Do you recall requesting such information
        from Mr. Wilkinson?
   Mr. Morris:       I don’t recall.
   Mr. Solomon:   Mr. Morris, I show you what has been
        marked as Morris Exhibit Number 22 and ask you have
        you seen that document before.
   Mr. Morris:       Yes.
   Mr. Solomon:   Now, on the first page, item number 2,
        guarantor, is a handwritten note inserting LLC. Do
        you see that?
   Mr. Morris:       Yes.
   Mr. Solomon:   Do you know why LLC was inserted there
        after the name Dandar Enterprises?
   Mr. Morris:    I believe this was the last rendition of
        the proposal for the restaurant prior to a lease
        being written, to which at some point prior to the
        lease being written, it came to my attention that
        the guarantor entity was not defined by its
        corporate status, to which I then called Mr.
        Wilkinson, which I believe Ms. Long was on the
        phone, and requested whether or not the entity was,
        in fact, a corporation, an LP, and LLC.     And Mr.
        Wilkinson stated that it was an LLC.

                                -33-
    Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 34 of 36



Morris Dep. at 130.

             Even when viewing this case in light most favorable

to Cap Centre, summary judgment must be granted to Wilkinson,

because no reasonable jury could find that Wilkinson made a

false     statement   to    Cap    Centre    concerning     Dandar   or   that

Wilkinson owed a tort or fiduciary duty to Cap Centre.6

                                  CONCLUSION

             For the foregoing reasons, Cap Centre’s motion for

summary judgment should be DENIED:

             1. as to count 1 (breach of contract) of Cap
                Centre’s complaint, and
             2. as to Wilkinson’s counterclaim for negligent
                misrepresentation.
             Further,      Wilkinson’s      motion   for   summary   judgment

should be GRANTED:

             3. as to count 1 (breach of contract) of Cap
                Centre’s complaint, and
             4. as to count 2 (negligent misrepresentation)
                of Cap Centre’s complaint.




6
      Furthermore, to allow Cap Centre’s claims to go to trial would be a
monumental waste of judicial time because Cap Centre cannot prove any
damages.    Cap Centre has computed its damages at $363,899.48.       See
Randolph Aff., Exh. S (Deposition of Darrell Nevin sworn to on March 9,
2005 (“Nevin Dep.”) at 126-136, along with Cap Centre’s revised damages
calculation.   Even though ABDJ’s lease was for 66 years; Cap Centre’s
mitigation analysis/calculation covered only 10 years.      Spreading the
mitigation analysis over 66 years (as opposed to 10 years) and using all
of Cap Centre’s assumptions prove that Cap Centre has not suffered any
loss but it has realized a benefit/profit of $9,081,284.33 over the 66
year lease. See Randolph Aff., Exh. T (Explanation of Mitigation Analysis
prepared by Darrel Nevin). This is so because ABDJ’s lease was a ground
lease at $13.50 per square feet, whereas the replacement tenants included
build out costs of $95.75 per square feet. Exh. S. Cap Centre has not
presented any evidence to refute this conclusion.

                                    -34-
 Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 35 of 36



           Finally, Wilkinson requests such other relief as

the Court may deem appropriate.


Dated:   July 18, 2005
         Greenbelt, MD

                          SOLOMON LAW GROUP, P.C.
                                                     Digitally signed by Marcell Solomon

                                Marcell Solomon      DN: CN = Marcell Solomon, C = US, O =
                                                     Solomon Law Group
                                                     Date: 2005.07.18 16:53:40 -04'00'
                          By:   _________________________________
                                 Marcell Solomon (#22257)
                                 Christopher S. Randolph (#15707)
                          7500 Greenway Center Drive
                          Suite 1130
                          Greenbelt, Maryland 20770
                          Attorneys for Defendant
                            Daniel R. Wilkinson, Sr.

                    CERTIFICATE OF SERVICE
          I hereby certify that on this 18th day of July
2005, a copy of the foregoing DEFENDANT COUNTER-PLAINTIFF
DANIEL WILKINSON’S MEMORANDUM OF LAW IN OPPOSITION TO CAP
CENTRE’S MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF HIS
CROSS MOTION FOR SUMMARY JUDGMENT was served on counsel in
this action by depositing a true copy of same, enclosed in a
postpaid   properly   addressed   wrapper,  in  an   official
depository under the exclusive care and custody of the United
States Postal Service as follows:

                      Charles M. Kerr, Esq.
                      Kerr McDonald, LLP
                      31 Light Street
                      Suite 400
                      Baltimore, MD 21202
                                                     Digitally signed by Marcell Solomon

                                 Marcell Solomon     DN: CN = Marcell Solomon, C = US, O =
                                                     Solomon Law Group
                                 ________________________
                                                     Date: 2005.07.18 16:54:01 -04'00'

                                        Marcell Solomon




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Case 1:04-cv-00182-RDB Document 71-1 Filed 07/18/05 Page 36 of 36




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